Case 1:04-cv-01290-.]DT-de Document 23 Filed 08/23/05 PagelofS Page|Dp§LQ

/
r 60 'i‘
<5‘)» j

 

05
IN THE UNITED srArEs DisrRiCT coURT 400?3\06
FoR THE WEsTERN DISTRICT oF TENNESSEE 5 45 9_
EASTERN DIvIsloN ij”_,»j °~'>`a
‘ 'ar/J¢§;a,‘/;fg,;t»;/)
" -<i'»,

TERRY L. CHARLTON, f~/FS@V AF/'
Plaintiff,
VS. No. l:04-1290-T/An

TENNESSEE DEPARTMENT OF
CORRECTIONS, et. al.,

\._/\_/\_/\_./\-_/\-_/`\-_/\._/\_/\_/

Defendants.

 

ORDER DENYING PLAINTIFF’S MOTION FOR COURT ORDER TO OBTAIN
MEDICAL RECORDS

 

Plaintiff, 'l`erry L. Charlton (“Plaintiff”), a prison inmate, sued Defendant, Tennessee
Department of Corrections and several prison officials and employees (“Defendants”)
pursuant to 42 U.S.C. § 1983 and several provisions of the Tennessee Constitution. Plaintiff
now moves the court for an order that Plaintii`f be able to obtain his medical records to prove
his case. Plaintiff insists that these records cannot be obtained “through normal discovery,”
but Plaintiff makes no allegation that either the hospital or Det_`endants will not provide
them.

Because Plaintiff seeks his own medical records he is able to obtain them on his own.
The court Will not issue an order to obtain records that the Plaintiff is free to obtain Without

court interventionl

This document entered on the docket sheet ln compliance
with Rule 58 and,’or_?Q (a) FFlCP on

Case 1:04-cv-Ol290-.]DT-de Document 23 Filed 08/23/05 Page 2 of 3 Page|D 20

Accordingly, Plaintiff’s Motion to Obtain Medical Records is DENIED.

"<L
IT IS S() ORDERED this aug day ofAugust, 2005.

flawde

S D. TODD
UN ED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 1:04-CV-01290 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

Gustavus A. Puryear

CORRECTIONS CORPORATION OF AMERICA

Burton Hills Blvd.
Nashville, TN 3721 5

J on A. York

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Terry L. Charlton

WH[TEVILLE CORRECTIONAL FACILITY
102704

P.O. Box 679

Whiteville, TN 38075

Kimberly J. Dean

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Honorable J ames Todd
US DISTRICT COURT

